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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  ALBANY DIVISION

MATHEW WHITEST, et al.,                              )
                                                     )
        Plaintiffs,                                  )       CIVIL ACTION NO.:
                                                     )       1:17-cv-00109-LJA
v.                                                   )
                                                     )
CRISP COUNTY, GEORGIA BOARD OF                       )
EDUCATION, et al.,                                   )
                                                     )
        Defendants.                                  )

     REPLY BRIEF IN FURTHER SUPPORT OF MOTION TO DISMISS PLAINTIFFS’
     AMENDED COMPLAINT BY DEFENDANT BECKY PERKINS, IN HER OFFICIAL
     CAPACITY AS ELECTIONS SUPERVISOR OF THE CRISP COUNTY BOARD OF
                       ELECTIONS AND REGISTRATION

        Plaintiffs concede in their Brief in Opposition to Defendant Becky Perkins’ Motion to

Dismiss Plaintiffs’ Amended Complaint [Doc. 31] (“Pls.’ Resp.”) that naming Defendant Becky

Perkins, in her official capacity as Elections Supervisor of the Crisp County Board of Elections

and Registration (“Ms. Perkins”), is just another way of naming the Board of Elections and

Registration (“BOER”). Since the BOER is already a party to this case, Ms. Perkins is a

redundant party and should be dismissed. She is not a proper party for implementing any

injunctive relief entered in the case, as her actions will merely be directed by the BOER. Further,

Plaintiffs offered no reasonable justification for their extreme delay in bringing this suit, and it

should be dismissed under the doctrine of laches as judicial intervention does not make sense so

close to the 2020 census and 2021 reapportionment.




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                      ARGUMENT AND CITATION OF AUTHORITY

   A. Plaintiffs’ Claims against Ms. Perkins Are Redundant and Should Be Dismissed

       As Plaintiffs note in their Response, “this suit against Ms. Perkins in her official capacity

is merely another way of pleading the action against the Board of Elections and Registration of

which she is an employee and an agent.” Pls.’ Resp., p. 4. Plaintiffs do not need another way of

pleading the action against the BOER; they have added the BOER as a party to this very suit.

       Even if this Court is not required to dismiss Ms. Perkins because she is a redundant party,

“Courts in this circuit routinely and overwhelmingly deem suits against both a local

government official in his official capacity and the entity of which the officer is an agent to

be redundant, and dismiss the official-capacity claims against the individual defendant on that

basis.” Dunn v. Guidry, No. 5:11-CV-489 CAR, 2012 WL 6216743, at *2 (M.D. Ga. Dec. 13,

2012) (emphasis added). This is common-sense, as “there no longer exists a need to bring

official-capacity actions against local government officials, because local government units can

be sued directly[.]” Busby v. City of Orlando, 931 F.3d 764, 776 (11th Cir. 1991); see also

Gonser v. Twiggs Cnty., 182 F. Supp.2d 1253, 1257 (M.D. Ga. 2002) (“When suit is also filed

against the government entity, it is appropriate for the Court to dismiss the named defendants in

their official capacities . . . Plaintiff has sued both Twiggs County and the Board of

Commissioners. Suit against the commissioners in their official capacity is duplicative of the suit

against the County. Accordingly, those claims should be dismissed.”); Stephens v. Ga. Dep’t of

Transp., 2009 WL 3747167, * 2 (M.D. Ga. 2009) (“Plaintiff’s claims against the four individual

Defendants must be dismissed as redundant of his claims against the DOT . . . [I]n a suit against

both an entity and the entity’s officer in his official capacity, the named individual defendant in

his official capacity should be dismissed as redundant.”). It is these cases, and not the District of



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Utah case Plaintiffs cite, to which the Court should look. Regardless, Navajo Nation Human

Rights Commission v. San Juan County, Case No. 2:16-cv-00254, 2017 WL 3972481 (D. Utah,

Sept. 7, 2017), is distinguishable from this case because there, plaintiffs named individual county

commissioners but not the county commission itself, so the argument for redundancy was not as

strong. Here, the Court should dismiss Ms. Perkins in her official capacity as redundant.

       The argument for dismissing Ms. Perkins from this suit is further supported by the fact

that Ms. Perkins cannot provide the injunctive relief Plaintiffs seek. Plaintiffs state that Ms.

Perkins conceded that, and it is not in dispute that, “the Election Supervisor can ‘generally

supervise, direct, and control the administration of the affairs of the board pursuant to law and

duly adopted resolutions of the board[,]’” citing to Ms. Perkins’ brief. [Doc. 31, p. 2, citing to

Doc. 27-1, p. 5]. Plaintiffs again ignore an essential part of that quoted authority, as Ms. Perkins

already pointed out: she can do those things only “pursuant to law and duly adopted resolutions

of the board.” [Doc. 27-1, p. 5]. It is the BOER, then, and not Ms. Perkins, that supervises the

elections process and ensures compliance with all laws, as set forth in O.C.G.A. §§ 21-2-40 and

21-2-2(35)(A), National Bread Co., Inc. v. Cleland, 697 F. Supp. 1204, 1216 (N.D. Ga. 1988) (“It

is the Superintendents who supervise the election and primary process on a local level and ensure

compliance with Georgia’s election laws.”), and the enabling legislation creating the BOER.

       Plaintiffs themselves recognize this by stating that “since the Board is the Election

Superintendent and has the authority to ‘call or hold the elections in Crisp County,’ Doc. 27-1, p.

3; O.C.G.A § 21-2-40, it can direct the Elections Supervisor to provide any of the relief sought

by Plaintiffs and ordered by this Court.” [Doc. 31, p. 3]. Plaintiffs are correct, and Ms. Perkins

does not need to be a party to this case in order for the BOER, which is a proper party, to direct

her to do something. There is no reason for Ms. Perkins to also be a party, and the claims against

her should be dismissed.
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    B. Plaintiffs’ Claims Are Untimely under the Doctrine of Laches

       As Plaintiffs recognize, “a plaintiff’s claims are untimely under the doctrine of laches

‘when judicial relief makes no sense.’” Pls.’ Resp., p. 9, citing White v. Daniel, 909 F.2d 99, 104

(4th Cir. 1990). They argue that judicial relief makes sense here because elections in Crisp

County for the Board of Education are scheduled in 2018 and 2020, before the 2020 census

becomes available. Pls.’ Resp., p. 9. Plaintiffs will likely be unable to obtain relief before

qualifying for the 2018 election begins—which is in less than five months—and have themselves

made that even more improbable by consenting to a stay of this case. [Doc. 34]. 1 As the Court

decided in the White case, “[i]t makes far more sense to await the [2020] census figures and the

[2021] reapportionment (if required) than for a court to intervene at such a late hour. If the

[2021] reapportionment should violate the Voting Rights Act, the plaintiffs may assert a new

justiciable cause of action.” 909 F.2d at 104.

                                         CONCLUSION

       The Court should dismiss all claims against Ms. Perkins under Federal Rule of Civil

Procedure 12(b)(6) because she cannot be the subject of an injunction even if Plaintiffs were to

obtain one. She does not call or control the elections in Crisp County; the Board of Elections and

Registration does that. Regardless, her presence in the case is entirely redundant and she should

be dismissed on that basis alone. Further, Plaintiffs’ years’ long delay in bringing their claim is

unreasonable and will be prejudicial to Crisp County if it is forced now to change the election




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  Any agreement between Plaintiffs and the Crisp County Board of Education would have to be
legislatively adopted, and the General Assembly does not reconvene until January 8, 2018.


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system for one or two 2 elections prior to the next Census.        For these reasons, Ms. Perkins

respectfully asks for dismissal from this case.

       Respectfully submitted this 18th day of October, 2017.

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                                              official capacity as Elections Supervisor of the
                                              Crisp County Board of Elections and Registration




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 Ms. Perkins respectfully reiterates that a change for the 2018 election is unlikely in that
qualifying for the two positions that are up for election will begin in less than five months, on
March 5, 2018. See
http://sos.ga.gov/index.php/elections/2018_elections_and_voter_registration_calendar.
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v.                                              )
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CRISP COUNTY, GEORGIA BOARD OF                  )
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                                                )
      Defendants.                               )

                                CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that I have this day electronically served the within and foregoing
REPLY BRIEF IN FURTHER SUPPORT OF MOTION TO DISMISS PLAINTIFFS’
AMENDED COMPLAINT BY DEFENDANT BECKY PERKINS, IN HER OFFICIAL
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     This 18th day of October, 2017.

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